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                                               September 9, 2020
VIA ECF AND FACSIMILE
Honorable Laura Taylor Swain
U.S. District Judge
Daniel Patrick Moynihan
United States Courthouse                                        MEMO ENDORSED
500 Pearl Street
New York, New York 10007

                       Re:     Adler v. Solar Power, Inc., et al.
                               Case No. 16-CV-01635 (LLS)(GWG)

Dear Judge Swain:

       My office represents the corporate defendants (collectively, “SPI”) in connection with the
above matter. I, together with Plaintiff’s counsel, submit this joint status letter and respectfully
request that the Show Cause Hearing scheduled to continue on September 11, 2020, be adjourned
to October 15, 2020, or any date thereafter that is convenient for the Court.

        At the time the parties submitted their last joint status letter to the Court – on July 22, 2020
– the Mauka FIT One LLC solar project in Hawaii (the “Project”) was anticipated to reach its
Commercial Operations Date (“COD”) milestone on July 31, 2020. However, the Project has
experienced several delays since then due to no fault of the parties. On August 31, 2020, Valta
Energy (“Valta”) requested an extension from Hawaiian Electric Company, Inc. (“HECO” or “the
Utility”), until October 15, 2020, to reach the COD milestone. However, SPI anticipates, based
on information received from Valta, that next week Valta will be submitting another request to
HECO for an even longer extension beyond October 15, 2020.

        Based on the foregoing, Plaintiff and SPI respectfully request that the continuation of the
Show Cause Hearing be adjourned from September 11 to October 15, 2020, or any date thereafter
that is convenient for the Court. The parties thank the Court for its time and attention to this
application.

The Show Cause hearing control date is
adjourned to October 30, 2020, at 2:00         Respectfully submitted,
p.m. The parties must file a joint status
letter by October 23, 2020. DE# 207            Kuuku Minnah-Donkoh
resolved.                                      Kuuku Minnah-Donkoh
SO ORDERED.
/s/ Laura Taylor Swain, USDJ 9/9/2020
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cc:    Roger Marion, Esq. (via ECF)
